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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   AMERICAN EXPRESS, ET AL,                                    No. C 11-04492 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                        ORDER ON MOTION
                                                                         13                                                               FOR TRANSFER
                                                                              LINDA ANN WRIGHT,
                                                                         14                  Defendant.
                                                                         15                                                /

                                                                         16          Defendant Wright filed a “Motion of Transfer to United States District Court 28 U.S.C.
                                                                         17   Section 1332(a)(1) ; 28 U.S.C. Section 1331 Jurisdiction. FRCP 18(a), 19, 20: Joinder Amend
                                                                         18   Motion to Proceed.” The motion is very difficult to comprehend. It appears Ms. Wright is
                                                                         19   requesting transfer of another case filed in “Superior Court Docket,” in which she is plaintiff, to
                                                                         20   this Court. Ms. Wright also appears to request consolidation of the state court case with this case.
                                                                         21   If plaintiff seeks to have her state court case heard in federal court, she may dismiss the state
                                                                         22   court case and re-file in federal court. The instant motion is hereby DENIED.
                                                                         23
                                                                         24          IT IS SO ORDERED.
                                                                         25
                                                                         26   Dated: October 14, 2011.
                                                                         27                                                        WILLIAM ALSUP
                                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         28
